    Case: 1:23-cv-16068 Document #: 33 Filed: 12/28/23 Page 1 of 2 PageID #:1827




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CONVERSE INC.,

                        Plaintiff,                   Case No. 23-cv-16068

       v.                                            Judge Andrea R. Wood

7-12 DAYS FOR EXPRESS DELIVERY, et                   Magistrate Judge Jeannice W. Appenteng
al.,

                        Defendants.



                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)
       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure Plaintiff Converse Inc.

(“Plaintiff” or “Converse”) hereby dismisses this action, with leave to reinstate within two hundred

and seventy (270) days, as to the following Defendants:

                  Defendant Name                                    Line No.
                   cosylify wear                                       67
                     HsdsBebe                                          96
                      Kannior                                          97
   Case: 1:23-cv-16068 Document #: 33 Filed: 12/28/23 Page 2 of 2 PageID #:1828




Dated this 28th day of December 2023.   Respectfully submitted,
                                        /s/ Marcella D. Slay
                                        Amy C. Ziegler
                                        Justin R. Gaudio
                                        Marcella D. Slay
                                        Berel Y. Lakovitsky
                                        Greer, Burns & Crain, Ltd.
                                        300 South Wacker Drive, Suite 2500
                                        Chicago, Illinois 60606
                                        312.360.0080 / 312.360.9315 (facsimile)
                                        aziegler@gbc.law
                                        jgaudio@gbc.law
                                        mslay@gbc.law
                                        blakovitsky@gbc.law


                                        Counsel for Plaintiff Converse Inc.
